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                                #:5862




 1                          UNITED STATES DISTRICT COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
 3                                  WESTERN DIVISION
 4

 5   ALEX ROSAS and JONATHAN
 6
     GOODWIN, on behalf of themselves
     and those similarly situated,
 7                                               Case No. 12-cv-00428 DDP (MRW)
 8                Plaintiffs,
                                           [PROPOSED] ORDER GRANTING
 9
                                           MOTION OF NON-PARTY LOS
           v.                              ANGELES TIMES
10
                                           COMMUNICATIONS LLC TO
     ROBERT LUNA, in his official capacity INTERVENE AND UNSEAL
11   as Sheriff of Los Angeles County,
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                  Defendant.
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           The Court, having considered the Motion of Non-Party Los Angeles Times
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     Communications LLC (the “Los Angeles Times”) to Intervene and Unseal (the
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     “Motion”), the documents filed in support thereof and any opposition thereto, and the
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     arguments of counsel, hereby ORDERS as follows:
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           The Motion is GRANTED.
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           The request of the Los Angeles Times to intervene for the purpose of seeking an
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     order unsealing the use-of-force packets and videos filed as exhibits in support of
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     Plaintiffs’ Motion to Modify Implementation Plan, as well as the redacted portions
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     of Plaintiffs’ Memorandum of Points and Authorities (“Memorandum”) and
23
     supporting declarations that reference those exhibits (together, the “Use-of-Force
24
     Materials”), is GRANTED.
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           The Los Angeles Times’ request to unseal the Use-of-Force Materials is
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     GRANTED.
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                     [PROPOSED] ORDER GRANTING MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
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                                #:5863



 1        The Clerk of the Court is hereby directed to unseal and make available on the
 2   public docket the unredacted copies of Plaintiffs’ Memorandum, the supporting
 3   declarations, and the supporting exhibits docketed at ECF No. 255, as well as the
 4   sealed exhibits whose lodging with the Court is noted at ECF No. 256.
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 6 IT IS SO ORDERED.

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 8   Dated: ___________________        _______________________________________
 9                                     U.S. District Judge Hon. Dean D. Pregerson
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                    [PROPOSED] ORDER GRANTING MOTION OF NON-PARTY
             LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
